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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    No. 21-cr-628-ABJ
                                     :
v.                                   :
                                     :
MICHAEL ANGELO RILEY,                :
                                     :
            Defendant.               :
                                     :
____________________________________:

                           DEFENDANT’S NOTICE OF FILING

       Defendant Michael Angelo Riley, through his undersigned counsel, hereby provides notice

of his filing of a redacted version of his sentencing memorandum (attached hereto) that was filed

under seal on April 6, 2023, pursuant to the Court’s Minute Order dated March 29, 2023.

Dated: April 6, 2023                        Respectfully submitted,

                                            SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

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